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11                                UNITED STATES DISTRICT COURT
12                                       DISTRICT OF NEVADA
13   INTERNATIONAL MARKETS LIVE,                              Case No.: 2:18-cv-00187-JAD-GWF
     INC., a   New   York     corporation;
14   CHRISTOPHER TERRY, an individual;
15                                                                DEFENDANT SCOTT
             Plaintiffs,                                          CARNEY’S REPLY IN
16           vs.
                                                               SUPPORT OF HIS MOTION
                                                                TO DISMISS PLAINTIFFS’
17   ROBERT HALTERMAN, an individual;                            AMENDED COMPLAINT
18   SCOTT CARNEY, an individual; ETHAN                         FOR LACK OF PERSONAL
     VANDERBUILT, an individual;                               JURISDICTION, IMPROPER
19                                                               VENUE, AND TO DIMISS
            Defendants.
                                                               FOR FAILURE TO STATE A
20                                                                    CLAIM, OR
21                                                                ALTERNATIVELY TO
                                                                      TRANSFER
22
23          Plaintiffs ask the District of Nevada to be their enforcers to muzzle their critics, and to be

24   the first court in the country to find personal jurisdiction based on post-suit Facebook posts or a

25   hashtag.1 Because the basis of Plaintiffs’ personal jurisdiction claim over Defendant Scott Carney

26
     1
27     Plaintiffs have sued at least ten critics for defamation and tortious interference in the District of
     Nevada based on Facebook posts, none of which were Nevada residents. Int’l Markets Live, Inc.
28   et al. v. Halterman et al.(2:18-cv-00187); Int’l Markets Live, Inc. et al. v. Santiago et al (2:18-cv-
     01112-KJD-PAL).

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 1   happened after they sued him, the post-suit Facebook posts should not be considered in the
 2   personal jurisdiction analysis. In other words, Plaintiffs effectively concede they lacked personal
 3   jurisdiction when they filed their suit, which lethal. But even if the post-suit Facebook posts were
 4   considered, they do not support that Defendant “targeted” or “purposeful directed” his activities
 5   to Nevada. Rather, they were generalized Facebook posts that were just as targeted to readers in
 6   Paris or Rome as they were to Miami. And because Plaintiffs concede that Carney neither resides
 7   in Nevada nor were his “acts” committed there, and because there is no personal jurisdiction, venue
 8   is also improper.
 9          Even assuming jurisdiction before this Court were proper, this suit should be dismissed (1)
10   because Plaintiffs fail to state which aspects of the Facebook posts are false, and (2) because they
11   are not actionable as they are privileged opinions protected under the First Amendment or, at most,
12   mere puffery.
13          Because Mr. Carney is disabled and wheelchair-bound, resides in Miami, and because all
14   accused acts occurred in Miami, if this Court does not dismiss this suit, Mr. Carney respectfully
15   requests that this Court transfer this suit to the Southern District of Florida, Miami Division, due
16   to its proximity to his house as transportation to that courthouse would be significantly more
17   convenient.
18          A. Plaintiffs’ Arguments for Personal Jurisdiction Impermissibly Rely on Post-Suit
               Conduct, Are Insufficient for Personal Jurisdiction, and Are Not Actionable
19
            Plaintiffs concede that there is no general personal jurisdiction against Defendant Carney.
20
     Pls’ Opp’n, ECF No. 25, at 2 n.1. It is further undisputed that none of the accused conduct occurred
21
     in Nevada. And critically, Plaintiffs fail to show that Carney directed his activities to Nevada.
22
     Indeed, Plaintiffs’ arguments for specific personal jurisdiction over Carney rely on a hashtag, post-
23
     suit Facebook posts where Las Vegas is mentioned only once, and visits to Las Vegas that preceded
24
     and are unrelated to any accused conduct. Plaintiffs accordingly have failed to show that Carney
25
     “purposefully directed” the accused conduct at Nevada. At most, Carney’s Facebook posts no
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     more targeted Nevada than any other state or country.
27
            Fatally, the only conduct Plaintiffs cite in support of jurisdiction in Nevada occurred after
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 1   they filed suit against Carney. To be sure, conduct occurring after the complaint has been filed
 2   cannot establish personal jurisdiction. See Thomas P Gonzalez Corp. v. Consejo Nacional De
 3   Produccion De Costa Rica, 614 F.2d 1247, 1254 (9th Cir. 1980) (“[A]s the [defendant] notes, [a]
 4   visit [that] occurred after the filing of the complaint in [an] action . . . cannot establish
 5   jurisdiction.”); Farmers Ins. Exch. v. Portage La Prairie Mut. Ins., 907 F.2d 911, 913 (9th Cir.
 6   1990) (“Only contacts occurring prior to the event causing the litigation may be considered” for
 7   the personal jurisdiction analysis.). Notably, Plaintiffs filed the suit against Carney on February
 8   1, 2018. Compl., ECF No. 2. Yet all of the allegations Plaintiffs use to tie Carney to Nevada
 9   occurred after the suit was filed. See id. (suit filed on February 1, 2018); and see Am. Compl.,
10   ECF No. 19, ¶ 15 (March 10, 2018), ¶ 16 (April 4, 2018), ¶ 17 (March 16, 2018), ¶ 18 (March 19,
11   2018), ¶ 19 (May 19, 2018), ¶ 20 (May 24, 2018), ¶ 21 (April 3, 2018); and see also Menalco,
12   FZE v. Buchan, 602 F. Supp. 2d 1186, 1195 (D. Nev. 2009) (“[F]or specific jurisdiction, the Court
13   does not consider events occurring after the Complaint is filed to determine whether Defendants
14   are subject to personal jurisdiction in this action.”). Because Plaintiffs showed zero basis for
15   personal jurisdiction at the time of filing, and because they still have not presented any basis for
16   personal jurisdiction at the time they filed the suit, their new allegations should be disregarded.
17   But even if the post-suit conduct is considered, it is insufficient to find personal jurisdiction.
18          Plaintiffs argue that because Carney had previously visited Las Vegas, personal jurisdiction
19   is supported. However, such visits predate and are unrelated to any of the accused conduct. Due
20   to the visits’ irrelevance, they do not constitute “case-linked” conduct required to find “purposeful
21   direction of conduct” for personal jurisdiction. Walden v. Fiore, 571 U.S. 277, 283 n. 6 (2014)
22   (“’Specific’ or ‘case-linked’ jurisdiction ‘depends on an affiliatio[n] between the forum and the
23   underlying controversy . . .’”) (alteration in original; emphasis added) (citation omitted).
24          Plaintiffs also argue that a hashtag of “#ChrisTerry” and “Chris” in a post-suit Facebook
25   post is evidence of targeting towards Nevada. But no court in the nation has found anyone subject
26   to personal jurisdiction based off a hashtag. Even so, the Facebook posts were written in Florida
27   at Carney’s residence, and knowledge or post-suit acknowledgement of a plaintiff living in Las
28   Vegas on a Facebook post is insufficient to confer personal jurisdiction. Indeed, it is well-


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 1   established that knowledge of where a plaintiff lives is insufficient for personal jurisdiction
 2   purposes, and does not establish purposeful direction of activities to a state. See Walden v. Fiore,
 3   571 U.S. at 289 (Knowledge that a plaintiff will suffer foreseeable harm in a venue is insufficient
 4   to establish personal jurisdiction because such an approach to the “analysis [would] impermissibly
 5   allow[] a plaintiff's contacts with the defendant and forum to drive the jurisdictional analysis.”);
 6   and see Ariel Invs., LLC v. Ariel Capital Advisors LLC, 881 F.3d 520, 522 (7th Cir. 2018) (“The
 7   Supreme Court . . . held that a defendant’s knowledge and intent concerning a resident of State A
 8   do not justify compelling that person to defend himself there.”). To be sure, those Facebook posts
 9   could have been seen by persons anywhere, so they were just as directed to Miami, Paris or Rome,
10   so do not amount to purposefully direction of activities to Nevada. See Rockwell Automation, Inc.
11   v. Beckhoff Automation, LLC, 23 F. Supp. 3d 1236, 1245 (D. Nev. 2014) (“[T]he fact that [a]
12   website is viewable in Nevada (as elsewhere), or the fact that [a defendant] might have reason to
13   suspect that its products . . . might end up in Nevada, is not enough to assert specific jurisdiction
14   over [the defendant] in Nevada without evidence of Nevada-specific targeting.”).
15          Even if post-suit Facebook posts could be considered for personal jurisdiction, which they
16   cannot, Plaintiffs’ argument that paragraphs 17, 18, and 19 of their Amended Complaint support
17   specific personal jurisdictional fails because they are not actionable statements or purposefully
18   directed to Nevada. For instance, the first paragraph has a hashtag and one reference to “Chris,”
19   which is not purposeful direction to Nevada or tortious (Am. Compl. ¶ 17), the second merely
20   mentions the suit and offers a discount for leaving International Markets Live (“IML”), which is
21   not tortious and is actually directed to a New York entity (¶ 18), and the third states that IML, a
22   New York entity, is a titanic, which is neither directed to Nevada nor tortious—if it were, every
23   stock analyst, website or news program would potentially be liable if they opined that a company
24   would not grow. Thus, the statements are not actionable, and if even if they were, they were
25   directed to the New York entity International Markets Live, not Nevada.
26          Plaintiffs cite Mavrix Photo, Inc. v. Brand Technologies, Inc., 647 F.3d 1218 (9th Cir.
27   2011) in support of their arguments, but the Mavrix case preceded Walden v. Fiore, where the
28   Supreme Court reiterated that “mere injury to a forum resident is not a sufficient connection to the


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 1   forum. Regardless of where a plaintiff lives or works, an injury is jurisdictionally relevant only
 2   insofar as it shows that the defendant has formed a contact with the forum State.” 571 U.S. at 290.
 3   Mavrix nevertheless is distinguishable because in that case, the defendant had contracts with
 4   Californian companies to advertise the offending website in California, used a Californian website
 5   designer, and explicitly directed the offending advertisements to California because “the
 6   advertisements targeted California residents.” Mavrix, 647 F.3d at 1222, 1230. None such
 7   findings are present here, nor did Plaintiffs allege any such contacts with Nevada.
 8          In conclusion, Plaintiffs do not show any pre-suit conduct by Carney purposefully directing
 9   his activities at Nevada, and only allege post-suit conduct that consists of Facebook posts written
10   in Florida and a hashtag. The posts are neither actionable nor show direction towards Nevada, and
11   even if they were actionable, they were directed at International Markets Live, a New York entity.
12          B. Venue Cannot Be Established in Nevada
13          Plaintiffs concede that there is no basis for venue in the District of Nevada under 28 U.S.C.
14   1391 § (b)(1) because Carney does not live in Nevada (Pls’ Opp’n at 9, lns. 2-3), nor under 28
15   U.S.C. 1391 § (b)(2) as the actions that give rise to the claim did not occur in Nevada. Id., lns. 3-
16   5. Finally, 28 U.S.C. §§ 1391 (b)(1)-(3) mandate venue to be proper in Florida not Nevada because
17   Florida is where Carney posted the comments on Facebook, Florida is where he resides, and
18   Florida is where personal jurisdiction is proper over Carney. While Plaintiffs contend their claims
19   are proper in the District of Nevada under 28 U.S.C. 1391 § (b)(3) “because of the actions taken
20   by CARNEY in coming to the state of Nevada regarding the subject matter in question and his
21   tortious statements directed towards TERRY and the state of Nevada[,]” that is a red-herring
22   because Carney’s prior visits to Nevada are unrelated to any accused conduct. In other words,
23   Carney’s prior visits to Nevada were not tied to the accused conduct, so the accused “acts” did not
24   take place there. Accordingly, because there is no basis to find venue under 28 U.S.C. §§ 1391
25   (b)(1)-(3), Carney respectfully requests that the motion to dismiss for improper venue be granted.
26          C. Plaintiffs Do Not Rebut that the Southern District of Florida Is More Convenient
               for Carney
27
            Despite conceding that Mr. Carney is disabled and wheelchair bound, Plaintiffs then argue
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 1   that “CARNEY attempts to falsely garner sympathy from this Court, stating numerous times that
 2   he is disabled.” Pls’ Opp’n at 10, lns. 6-7. To be sure, Mr. Carney’s disability is (1) not “false,”
 3   and (2) a genuine reason why Florida is a more convenient venue. See 28 U.S.C. § 1404(a) (“For
 4   the convenience of parties and witnesses, in the interest of justice, a district court may transfer any
 5   civil action to any other district or division where it might have been brought . . . .”); GNLV, Corp.
 6   v. Se. Amusement, Inc., No. 2:14-cv-00048-GMN-PAL, 2015 WL 13678048, at *3 (D. Nev. Mar.
 7   27, 2015) (“Courts regard the convenience of witness as the most important to factor in
 8   determining whether to transfer a case . . . .”). It is self-evident that it is more convenient to use a
 9   personal, wheelchair-accessible car to a courthouse a few miles from home, than plan and take
10   multiple car trips with unknown support for wheelchairs to and from airports and hotels, move
11   around a plane with narrow aisles, and travel across at least two airports.
12           Plaintiffs also argue that “CARNEY posts (publishes) defamatory statements for the world
13   to see on Facebook” (Pls’ Opp’n at 10, ln. 14), but that is not a basis for why Nevada is more
14   convenient. Indeed, the accused posts were made in Florida. Accordingly, if this Court does not
15   grant a dismissal, Carney respectfully requests transfer to the Southern District of Florida for
16   convenience.
17           D. Plaintiffs Failed to Specify Which Statements Were Allegedly False, What Made
                Them False, and Why They Are Not Protected Free Speech
18
             Plaintiffs have failed to allege which statements made by Carney were allegedly “false” or
19
     how they were “false,” rather than opinion or protected criticism. For instance, Plaintiffs argue in
20
     support of their defamation claim that “CARNEY filed a false Complaint with the Commodity
21
     Futures Trade Commission on or about the beginning of January 2018” (Am. Compl. at 2, ¶ 13),
22
     but fail to state what was the “false” statement or how it is “false.” Nevertheless, statements made
23
     to the CFTC are not published, and have “absolute privilege,” and thus cannot be actionable. Pope
24
     v. Motel 6, 121 Nev. 307, 315, 114 P.3d 277, 282 (2005) (“[W]e have recognized an absolute
25
     privilege for communications published in the course of judicial proceedings, even when the
26
     statements are false or malicious and are republished with the intent to harm another. We have also
27
     extended an absolute privilege to quasi-judicial proceedings . . .”). Plaintiffs further argue that
28


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 1   Carney committed defamation per se because he stated that “Plaintiffs are running a federally
 2   illegal scheme” (Pls’ Opp’n at 11, lns. 18-19), but Plaintiffs tellingly failed to allege or attach any
 3   such statements by Carney. While Carney may have opined about his thoughts on IML’s
 4   longevity, if such statements were actionable, every stock analyst, website or news program would
 5   potentially be liable if they opined about the potential future of a company. See Dun & Bradstreet,
 6   Inc. v. Greenmoss Builders, Inc., 472 U.S. 749, 777 (1985) (“[T]he First Amendment requires
 7   significant protection from defamation law's chill for a range of expression far broader than simply
 8   speech about pure political issues.”); SPX Corp. v. Doe, 253 F. Supp. 2d 974, 981 (N.D. Ohio
 9   2003) (holding that statements posted on an internet message board accusing the plaintiff, a
10   corporation, of accounting fraud, warning readers to “get ready for” an “FBI and SEC probe,” and
11   advising readers to sell the plaintiff’s stock, were not defamatory under Ohio law, which is similar
12   to Nevada law, and were instead privileged opinion). Thus, even if taken as true, the statements
13   are protected first amendment criticism, mere opinion and puffery, which is not actionable.
14           Plaintiffs make the same arguments in support of their trade libel claim as for their
15   defamation claim, and their trade libel fails for the same reasons: there is no indication which
16   statements or part of statements are allegedly false, and again, all are protected first amendment
17   criticism, opinion and puffery.
18           Plaintiffs’ claims for “Tortious Interference with Contractual Relations” and “Tortious
19   Interference with Prospective Economic Advantage” both lose because Plaintiffs failed to plead
20   that the contracts were disrupted, but even if they were, the statements were not “false” but rather
21   protected first amendment criticism, opinion and puffery, which are privileged statements. See
22   SPX Corp., 253 F. Supp. 2d at 981 (internet posts accusing a corporation plaintiff of accounting
23   fraud, warning readers to “get ready for” an “FBI and SEC probe,” and advising readers to sell the
24   plaintiff’s stock were privileged opinion); Lubin v. Kunin, 17 P.3d 422, 426 (Nev. 2001).
25   (“Statements of opinion are protected speech under the First Amendment of the United States
26   Constitution[ and] . . . are not actionable at law.”).
27                                              CONCLUSION
28           Because Defendant Scott Carney’s activities were not “targeted” or “directed” to Nevada,


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 1   Defendant Carney respectfully requests this Court to enter an order dismissing the Complaint in
 2   its entirety under Federal Rules of Civil Procedure 12(b)(2) and 12(b)(3). Defendant Carney
 3   further respectfully requests this Court to dismiss each of Plaintiffs’ claims against him under
 4   Federal Rule of Civil Procedure 12(b)(6) because they fail to state a claim or allege facts to meet
 5   the elements of each cause of action, and because any alleged statements made by him are
 6   nevertheless not actionable. If personal jurisdiction is found proper and the Court does not dismiss,
 7   Defendant Carney alternatively respectfully requests that this Court transfer this action from the
 8   District of Nevada to the Southern District of Florida, Miami Division, pursuant to 28 U.S.C. §
 9   1404(a) for the convenience of the parties and in the interests of justice.
10
      Dated: June 28, 2018                                 Respectfully submitted,
11
12                                                         SCOTT CARNEY,
13
                                                           By: s/ Adam Wolek               .
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 1                                   CERTIFICATE OF MAILING
 2          I HEREBY CERTIFY that pursuant to F.R.C.P. 5 on June 28, 2018, I caused service of the
 3   foregoing DEFENDANT SCOTT CARNEY’S REPLY IN SUPPORT OF HIS MOTION TO
 4   DISMISS PLAINTIFFS’ AMENDED COMPLAINT FOR LACK OF PERSONAL
 5   JURISDICTION, IMPROPER VENUE, AND TO DIMISS FOR FAILURE TO STATE A
 6   CLAIM, OR ALTERNATIVELY TO TRANSFER by mailing a copy via email, or via
 7   electronic mail through the United States District Court’s CM/ECF system to the following at their
 8   last known address or e-mail:
 9          P. Sterling Kerr, Esq. (SBN 3978)
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